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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA               § CRIMINAL CASE NO.
                                       §
v.                                     § 1:16-cr-00237-AT-JSA
                                       §
JAMES G. MALONEY,                      §
                                       §
       Defendant.                      §


                         NOTICE OF APPEARANCE


      COMES NOW, Craig A. Gillen, and hereby files this Notice of Attorney

Appearance in the above-captioned matter on behalf of Defendant James G.

Maloney, pursuant to Rule 57.1 of the Criminal Local Rules for the Northern District

of Georgia, hereby appearing as lead counsel for Defendant.




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      Respectfully submitted, this 25th day of August, 2016.

                                     GILLEN WITHERS & LAKE, LLC

                                     /s/Craig A. Gillen _________________
                                     Craig A. Gillen, Esq.
      `                              Georgia Bar No. 294838
                                     One Securities Centre, Suite 1050
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                                     Counsel for Dr. James G. Maloney

                                 CERTIFICATION

      The undersigned hereby certifies, pursuant to N.D.Ga.L.Civ.R. 7.1D, that the

foregoing document has been prepared with one of the font and point selections

(Times New Roman, 14 point) approved by the Court in N.D.Ga.L.Civ.R. 5.1B.

                                     GILLEN WITHERS & LAKE, LLC

                                     /s/Craig A. Gillen _________________
                                     Craig A. Gillen, Esq.
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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this 25th day of August, 2016, the

undersigned served the foregoing document by filing the document via the Court’s

Case Management/Electronic       Case Filing     (CM/ECF) system, which will

automatically serve notice of such filing on the following attorneys of record:

      John Russell Phillips, Esq.
      Stephen H. McClain, Esq.
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                                       GILLEN WITHERS & LAKE, LLC

                                       /s/Craig A. Gillen _________________
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